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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 GLORIA MORALES-PADRO,
                    Plaintiff,
                                                                   21-CV-9083 (JPO)
                     -v-
                                                                         ORDER
 IKEA NORTH AMERICA SERVICES
 L.L.C., et al.
                     Defendant.


J. PAUL OETKEN, District Judge:

       This case was removed from New York Supreme Court, Bronx County, on November 3,

2021. Counsel for the plaintiff is directed to file an appearance with this Court no later than

November 19, 2021.

       Counsel for the defendant shall serve a copy of this order on counsel for the plaintiff by

November 12, 2021.

       SO ORDERED.

Dated: November 5, 2021
       New York, New York

                                              ____________________________________
                                                         J. PAUL OETKEN
                                                     United States District Judge
